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442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
v. ) Case: 1:22-mj-00104

Lynnwood Nester ) Assigned to: Judge Meriweather, Robin M.
Assign Date: 5/11/2022
) Description: COMPLAINT Ws ARREST WARRANT
oo oo )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Lynnwood Nester _ ;

who is accused of an offense or violation based on the following. document filed with the court:

Indictment © Superseding Indictment © Information  Superseding Information [% Complaint

© Probation Violation Petition CO Supervised Release Violation Petition O Violation Notice Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds

18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,

40 U.S.C, § 5104(e)(2)(G)- Parade, demonstrate, or picket in any of the Capitol Buildings.

D> 2022.05.11 13:45:45
> “— oa'00'

Issuing officer’ s signature

Date: 05/11/2022

City and state: _ __ Washington, D.C. _ __ Robin M. Meriweather, U.S. Magistrate Judge __

Printed name and title

Return

This warrant was Di lebew on (date) Sf ll J ee _ , and the person was arrested on (date) _ x [20 /. ae

at (cityandstae) Yr Jd ge erg

ificer's signature

Sie Aad Ey bys

ted name and title

